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                                                                                       2013 Jul-24 PM 04:22
                                                                                      U.S. DISTRICT COURT
                                                                                          N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         MIDDLE DIVISION

MEGAN MORRISON,                         )
                                        )
      Plaintiff,                        )
                                        )
v.                                      )       Case No. 4:12-cv-01736-MHH
                                        )
MERCANTILE ADJUSTMENT                   )
BUREAU, LLC, et al.,                    )
                                        )
      Defendants.                       )

                                       ORDER

      Pursuant to 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

parties in the above-styled cause filed a joint stipulation of dismissal (doc. 45),

reciting that the action should be dismissed with prejudice. Based on the parties’

joint stipulation, it is ordered that the above-styled action and all claims contained

therein are DISMISSED WITH PREJUDICE. Each party is to bear its own costs.

      The Clerk is DIRECTED to terminate docs. 24 & 44 and close the file.

      Done, this the 24th day of July, 2013.




                                        MADELINE HUGHES HAIKALA
                                        U.S. MAGISTRATE JUDGE
